      Case 2:08-cr-00417-MCE Document 112 Filed 08/18/11 Page 1 of 2


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 5
     Attorney for Defendant,
 6   MARIO SARRANO-ABURTO

 7
                                IN THE UNITED STATES DISTRICT COURT
 8                            FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                          CASE NO. 2:08-cr-00417 MCE

11               Plaintiff,                             STIPULATION AND ORDER

12        vs.                                           DATE: August 11, 2011
                                                        TIME: 9:00 AM
13   MARIO SARRANO-ABURTO,                              JUDGE: Hon. Morrison England

14               Defendant.

15

16          It is hereby stipulated and agreed to between the United States of America through Jason

17   Hitt, Assistant U.S. Attorney, and defendant Mario Sarrano-Aburto, by and through his attorney,

18   Dan Koukol, that the status conference of August 11, 2011 be vacated and that a status

19   conference be set for September 29, 2011 at 9:00 AM.

20          This continuance is being requested because Mr. Hitt is presently unavailable and the

21   parties need additional time to discuss the case and negotiate a plea agreement.

22          //

23          //

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      Case 2:08-cr-00417-MCE Document 112 Filed 08/18/11 Page 2 of 2


 1          Counsel agree that the time between the signing of the requested order and September 29,

 2   2011 will be excluded from the speedy trial calculation pursuant to 18 U.S.C. §3161(h)(7)(A)

 3   and (B) (Local Code T4) in that the defendants’ and the public’s interest in a speedy trial are

 4   outweighed by the interests of justice in permitting counsel adequate time to prepare.

 5
     DATED: AUGUST 10, 2011                       Respectfully submitted,
 6

 7                                                /s/ DAN KOUKOL
                                                  _________________________________
 8                                                DAN KOUKOL
                                                  Attorney for defendant Mario Sarrano-Aburto
 9

10
     DATED: AUGUST 10, 2011                       Respectfully submitted,
11

12                                                /s/ DAN KOUKOL FOR
                                                  _________________________________
13                                                Jason Hitt
                                                  Assistant U.S. Attorney
14
     IT IS SO ORDERED.
15
     Dated: 8/18/2011
16

17                                    _______________________________________
                                      MORRISON C. ENGLAND, JR.
18
                                      UNITED STATES DISTRICT JUDGE
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